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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  WELLS FARGO BANK, N.A.,                   Civil Action No.: 1:19-cv-00077-NLH-
                                            KMW
                               Plaintiff,

  v.

  COMMENTS SOLUTIONS, LLC
  and                                          PLAINTIFF’S NOTICE OF
  FIRST LEGACY COMMUNITY                     MOTION TO INTERPLEAD, OR
  CREDIT UNION                                IN THE ALTERNATIVE, TO
                                                 DELIVER FUNDS TO
                            Defendants.      DEFENDANT FIRST LEGACY
                                             COMMUNITY CREDIT UNION


       PLEASE TAKE NOTICE that on, May 20, 2019 at 9:00 in the forenoon

or as soon thereafter as counsel may be heard, Plaintiff Wells Fargo Bank, N.A.

(“Wells Fargo”), by and through its counsel, Fox Rothschild LLP, will move before

the Court for an Order (a) permitting Wells Fargo to deposit into the Registry of this

Court the Restrained Proceeds (as defined in the Complaint and herein) that are the

subject of its Complaint for Interpleader (the “Complaint”) (D.E. #1), and dismiss

and discharge Wells Fargo from this action, along with an award of its reasonable

attorneys’ fees and costs; or (b) alternatively, and based upon the facts set forth in

the Complaint and the default of Defendant Comment Solutions, LLC (“Comment

Solutions”) permitting Wells Fargo to deliver the Restrained Proceeds to Defendant

First Legacy Community Credit Union (“First Legacy”), and dismiss and discharge
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Wells Fargo from this action, along with an award of its reasonable attorneys’ fees

and costs.

      PLEASE TAKE FURTHER NOTICE that in support of this motion, Wells

Fargo shall rely upon the accompanying Memorandum of Law in Support of Plaintiff

Wells Fargo Bank, N.A.’s Motion to Interplead, or in the Alternative, to Deliver

Funds to Defendant First Legacy Community Credit Union, and the Declaration of

Adam Busler, Esq., along with the exhibit annexed thereto.

      PLEASE TAKE FURTHER NOTICE that in accordance with L. Civ. R.

7.1(b), a proposed form of Order has also been supplied.

      PLEASE TAKE FURTHER NOTICE that, pursuant to L. Civ. R. 7.1(b)(4),

Wells Fargo hereby requests oral argument if this motion is opposed.

                                            Respectfully Submitted,

                                            FOX ROTHSCHILD LLP
                                            Attorneys for Plaintiff,
                                            Wells Fargo Bank, N.A.



                                            By:    /s/ Adam Busler
                                                   Adam Busler
Dated: April 15, 2019




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